                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION

 UNITED STATES OF AMERICA,                            )
                      Plaintiff,                      )
                                                      )
 vs.                                                  )       CASE DNCW3:04CR36-RLV-DSC
                                                      )       (Financial Litigation Unit)
 JOSEPH FINATERI                                      )
                                 Defendant,           )
                                                      )
 and                                                  )
                                                      )
 ASCENSION ENERGY GROUP, INC.,                        )
                     Garnishee.                       )


          DISMISSAL OF CONSENT ORDER OF CONTINUING GARNISHMENT

         Upon Motion of the United States for the reasons stated therein and for good cause shown,

it is ORDERED that the Consent Order of Continuing Garnishment filed in this case against

Defendant Joseph Finateri is DISMISSED.



         SO ORDERED.
                                    Signed: August 12, 2015




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